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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                                         Case No.: 19-CV-01048-ECT-BRT
 Strio Consulting, Inc.,
 a Minnesota Corporation,
          Plaintiff and Counterclaim
          Defendant,
 v.
 RocketPower, Inc.,
 a Delaware Corporation,
          Defendant and Counterclaim
          Plaintiff.                                     Case No.: 19-CV-01928-ECT-BRT

 RocketPower, Inc.,
 a Delaware Corporation,                            SECOND AMENDED COMPLAINT
          Plaintiff and Counterclaim
          Defendant,
 v.
 Strio Consulting, Inc.,
 a Minnesota Corporation,
          Defendant and Counterclaim
          Plaintiff.


         1.       Plaintiff RocketPower, Inc. seeks a declaratory judgment pursuant to
California Code of Civil Procedure sections 1060 et seq., that non-compete provisions in
employment agreements — agreements that Strio Consulting, Inc. purported to prepare
on behalf of RocketPower and Strio — are void and unenforceable against RocketPower
and the joint workers of RocketPower and Strio under California law and on other
grounds.
                                        THE PARTIES
         2.       RocketPower, Inc., is a Delaware corporation, with its primary place of
business located at Two Embarcadero Center, San Francisco, California.




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         3.       Strio Consulting, Inc., is a Minnesota corporation with its primary place of
business located at 1390 Neal Avenue North, Lake Elmo, Minnesota.
                                JURISDICTION AND VENUE
         4.       This Court has jurisdiction and is the appropriate venue because Strio,
through its relationship with RocketPower, availed itself of the protection of the laws of
the State of California, and liability arose in San Francisco, California, where
RocketPower suffered injury resulting from Strio’s conduct. Strio’s liability, as set forth
in this First Amended Complaint, exceeds $25,000.
                                  GENERAL ALLEGATIONS
         5.       RocketPower provides talent solutions to rapidly growing companies by:
1) providing recruiting process outsourcing/contract recruiters; 2) providing
outsourced/contract staffing for hourly positions such as autonomous vehicle operators
and customer service specialists; and 3) providing executive search services.
         6.       Strio is a consulting business that provides back office services for
RocketPower and RocketPower’s clients including payroll, employee benefits, and
related services.
         7.       RocketPower establishes relationships and contracts with clients who are
companies in need of workers.
         8.       RocketPower’s clients contract with RocketPower for assistance with
finding and hiring, placement, management, and supervision of workers to meet their
business needs. All relevant client contracts are between the client and RocketPower.
Strio is not a party to any relevant client contracts.
                      RocketPower/Strio Joint Employment of Workers
         9.       RocketPower and Strio have a verbal agreement to provide different
services to RocketPower’s clients, with RocketPower being primarily responsible for
advertising, screening, and identifying potential employees who will meet their clients’
employment needs as follows: 1) in the Recruiting Process Outsourcing line of business,


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RocketPower directs the operational performance of the employees; 2) in the
Outsourced/Contract staffing line of business, RocketPower clients direct the operations
performance of the employees; and 3) in the Executive Search staffing line of business,
RocketPower provides primary operational direction.
         10.      RocketPower uses Strio services for some of its services to clients, but not
all.
         11.      RocketPower and Strio do not have an exclusive business relationship.
RocketPower/Strio’s joint workers are not prohibited from working on assignments that
involve RocketPower clients with whom Strio has no contacts, involvement, or
relationships.
         12.      When RocketPower’s clients identify a hiring need, they contact
RocketPower, who then advertises the position and begins soliciting qualified candidates
to apply for the position.
         13.      The team that screens and then extends offers to the applicants is made up
of both RocketPower-payroll and Strio-payroll employees. The operational control and
business processes are governed by RocketPower. A verbal offer to the candidate is
made telephonically by either a RocketPower or Strio employee, who is a member of that
team.
         14.      Following the verbal offer made to the candidate, the written confirmation
is sent by the same RocketPower or Strio employee who made the verbal offer to the
candidate.
         15.      The RocketPower or Strio employee who sent the written offer then alerts a
recruiting coordinator who is also operationally controlled by RocketPower. Strio
employees execute the required final paperwork; those specific internal support Strio
employees are paid 50% by RocketPower (even though these Strio employees are not
joint workers). The required final paperwork includes a statement of work that defines
the scope of the new hire’s job responsibilities based on RocketPower’s specifications,


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and an employment agreement. The employment agreements at issue here were drafted
by Strio, without RocketPower input. The employment agreement is then executed
electronically by the new hire.
         16.      After the new hire signs the employment agreement, he or she becomes a
joint employee of RocketPower and Strio. Strio is responsible for providing payroll
services, employee benefits, and other day-to-day services for the new hire, at
RocketPower’s specification.
         17.      RocketPower funds 100% of the billable workers’ wages. The workers are
directed 100% by RocketPower or RocketPower clients.
         18.      The workers are joint employees of both RocketPower and Strio.
Depending on the line of business, RocketPower, or RocketPower's clients, control and
supervise the day-to-day activities of the workers. Strio provides limited services and is
only responsible for employee relations matters such as disciplinary issues and
termination actions, done in collaboration with RocketPower.
         19.      RocketPower and Strio are joint employers of the workers for at least the
following reasons:
               a. RocketPower supervises and controls the workers’ schedules and
                  conditions of employment;
               b. RocketPower determines the rate and method of payment for all of the
                  billable employees. For the few workers who are Strio internal overhead
                  employees only, Strio determines the rate and method of payment with
                  RocketPower’s input;
               c. Many of the Agreements expressly state that the workers are employees of
                  both RocketPower and Strio;
               d. The Employee Handbook states that the workers are employees of both
                  RocketPower and Strio;
               e. Onboarding of the workers is done by both RocketPower and Strio;


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                f. Both RocketPower and Strio have responded to employee complaints from
                   various agencies as joint-employers;
                g. Responsibility under the Agreements could pass from one entity to the
                   other without material changes; and
                h. The workers work exclusively for RocketPower clients. As such, Strio
                   cannot enforce the restrictive covenants of the Agreements against
                   RocketPower, its joint-employer and intended co-beneficiary of the
                   restrictive covenants.
          20.      Strio does not assign pre-existing Strio employees to RocketPower
contracted assignments.
          21.      RocketPower initiates requests for hiring new employees to work on
RocketPower contracted assignments.
          22.      RocketPower manages the hiring process for hiring new hires for
RocketPower contracted assignments.
          23.      Strio does not assign joint employees to any new projects where Strio has a
direct contact with a RocketPower client when a RocketPower contract assignment ends.
          24.      The joint employment of RocketPower/Strio’s employees is made possible
exclusively by RocketPower’s contracted client relationships.
          25.      Strio does not provide specialized training to RocketPower/Strio joint
employees.
          26.      There is no Strio proprietary confidential information promised to or given
to the joint employees.
          27.      There are no Strio trade secrets provided to the joint employees.
          28.      There is no customer goodwill on behalf of Strio retained by the
employees; in fact, many RocketPower contracted clients do not even know that Strio
exists.




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         29.      RocketPower/Strio joint employees are low to middle income hourly
employees and enforcement of non-competes interferes with their ability to work and
provide a living for themselves and their families.
         30.      RocketPower and Strio are complementary businesses who do not compete
for the same clients.
         31.      RocketPower and Strio do not have a non-solicitation or non-compete
agreement with each other.
         32.      RocketPower invoices all of its clients directly for the services its workers
provide for them.
         33.      RocketPower’s clients generally submit payment for the invoiced work
with 25 to 45 days of receiving the payment.
         34.      After receiving payment from its clients, RocketPower deposits the funds in
a joint account shared by RocketPower and Strio.
         35.      RocketPower/Strio currently jointly employ approximately 165 workers
and approximately 86 of those joint workers reside and work primarily in California.
                                    The Agreements at Issue
         36.      There are at least two types of Employment Agreements that Strio has been
presenting to the joint workers for signature.
         37.      The first is styled “Independent Contractor Agreement” with a “Statement
of Work” attached. The second is styled “Consultant Employment Agreement” with a
“Statement of Work” attached. The two agreements are referred to hereafter collectively
as “the Worker Agreements.”
         38.      Some of Worker Agreements purport to be between the worker and Strio
only. Some of the Worker Agreements purport to be between the worker and both Strio
and RocketPower.
         39.      The material provisions of the Worker Agreements are essentially identical.




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         40.      The Worker Agreements provide that the workers are hired as “independent
contractors” to serve one or more clients.
         41.      The workers are also “at will” employees who could be terminated at any
time without cause.
         42.      The Worker Agreements include a non-competition clause that states:


                  Non-Competition.1
                         During the term of this Agreement and for one year
                  after the termination of Contractor’s relationship with
                  SC/RP2 for whatever reason, whether such termination was
                  by SC/RP or Contractor, and whether with or without cause,
                  Contractor agrees that he or she shall not, as a principal,
                  employer, stockholder, partner, agent, consultant,
                  independent contractor, employee or in any other individual
                  representative capacity:
                         1)     Provide or attempt to provide directly or
                                indirectly, or advise others of the opportunity
                                to provide, any Services to any Client:
                                a.     To which, within six (6) months prior
                                       to termination of Contractor’s
                                       Agreement, Contractor has provided
                                       services in any capacity on behalf of
                                       SC/RP, or
                                b.     To which, within ninety (90) days prior
                                       to such termination of Contractor’s
                                       Agreement, Contractor has been
                                       introduced or about which Contractor
                                       has received information through
                                       SC/RP or through any Client for which
                                       Contractor has performed Services in
                                       any capacity on behalf of SC/RP or;
                         2)     Retain or attempt to retain, directly or
                                indirectly, for Contractor or any other party,
                                the Services of any person, including any of
                                SC/RP’s employees, who was providing

1
  The Strio worker agreement contains the identical provision, but only purports to assert
the Non-Competition obligation for the benefit of Strio, not both Strio and RocketPower,
as in the other agreements.
2
  As defined in the Worker Agreement, “SC” is “Strio” and “RP” is RocketPower.


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                                services to or on behalf of SC/RP within
                                ninety (90) day before the termination of
                                Contractor’s Agreement, and to whom
                                Contractor has been introduced or about
                                which Contractor has performed Services in
                                any capacity on behalf of SC/RP. For purposes
                                of this paragraph, the term “Client” includes
                                any affiliates, customers and clients of
                                SC/RP’s Clients for which Contractor
                                performed or was assigned to perform
                                Services under this Agreement.
         43.      The non-compete provisions contain no geographic or other scope
limitations.
         44.      The exact terms of the Worker Agreements, including restrictive covenants,
were not negotiated pre-offer of employment.
         45.      The Worker Agreements contain a provision that states the agreement
“shall be governed, construed and determined according to the laws of the State of
Minnesota.”
         46.      The Worker Agreements requires RocketPower/Strio employees to resolve
disputes through arbitration in Minneapolis, Minnesota.
         47.      In direct conflict, in a separate section, the Worker Agreements also state:
“[t]his Agreement will be governed by the law of the state in which the Services are
primarily performed.”
         48.      RocketPower did not review or approve the non-competition or choice of
law provisions in the Worker Agreements.
         49.      Section 925 of the California Labor Code prohibits employers from
requiring employees who primarily reside in California to adjudicate claims that arise in
California outside of California, or from depriving those employees of “substantive
protection[s] of California law with respect to a controversy arising in California.”
         50.      Pursuant to Section 925, such requirements are voidable.




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         51.      Section 925 applies to all employment agreements executed on or after
January 1, 2017.
         52.      All of the Worker Agreements at issue in this case were executed after
January 1, 2017.
         53.      California Business and Professions Code section 16600 provides: “Except
as provided in this chapter, every contract by which any one is restrained from engaging
in a lawful profession, trade, or business of any kind is to that extent void.”
         54.      Sections 16600 through 16607 do not include an exception allowing
RocketPower/Strio to restrain its joint employees residing in California from engaging in
their lawful possessions, trades, or businesses in the state of California.
          Strio’s Failure to Make Payroll to Joint Employees in December 2018
         55.      Strio failed to make payroll for at least 20 of the joint workers on at least
two separate occasions: November 30, 2018 and December 14, 2018.
         56.      On information and belief, on other occasions in or about December
2018/January 2019, Strio grossly overpaid the joint workers and then, in an effort to
correct its over-payment, clawed back more than had been overpaid. One example
involved a joint worker who reported that she was paid $80,0000.00 for one pay period.
When Strio attempted to correct the situation, it withdrew not only the overpayment, but
also the amount that was actually due and owing for payroll that pay period.
         57.      As mentioned, on November 30, 2018, Strio missed payroll for a number of
joint workers. RocketPower was required to step in and pay some of the employees
directly via PayPal, which it did the following day.
         58.      Strio was assigned to pay other employees through a similar method, but on
information and belief, these payments were made with significant delay and from
personal bank accounts, not from Strio-associated accounts.




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          Strio’s Threats Against RocketPower with Regard to Joint Employees
         59.      On December 14, 2018, Strio’s CEO, Caleb Fullhart, sent RocketPower’s
Chief Executive Officer, Mat Caldwell, the following hostile and threatening text
message during a discussion around Strio’s repeated failure to make payroll and making
accounts receivable/accounts payable more accurate for both firms:

                  Caleb: When are you back next week? I am coming out to
                  SFO so we can chat face to face

                  Mat: Next week won’t work. Is Doris contacting Byron.

                  Caleb: I already messaged him – if you aren’t available face
                  to face, we need to talk soon. You fucking pissing me off
                  man. And you are fucking with my money. Do not forget
                  who holds the paper on every single employee (except Jeff
                  and Jackie). If you want the nuclear option you will get it.

                  Mat: Dude—don’t go there. This is not what either of us
                  wants.

         60.      Minted is a California based employer who has contracted with
RocketPower for assistance with employee recruitment and staffing needs.
         61.      Reflektive is a California based employer that has contracted with
RocketPower for assistance with employee recruitment and staffing needs.
         62.      Paula-Anne Sherron was hired by RocketPower to work for Minted.
         63.      On July 10, 2018, Sherron signed a Consultant Employment Agreement
(“Sherron Agreement”).
         64.      On January 29, 2018, Christine Covert was hired by RocketPower/Strio to
work for Reflektive.
         65.      Ms. Covert’s Statement of Work identified Mat Caldwell, CEO of
RocketPower, as Reflektive’s client contact.




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         66.      On January 29, 2018, Ms. Covert signed a Consultant Employment
Agreement (“Covert Agreement”).3
         67.      Pursuant to their agreements, Ms. Covert and Ms. Sherron were hired as
“independent contractors” to serve one more clients.
         68.      They were also “at will” employees who could be terminated at any time
without cause.
         69.      Both the Sherron and Covert Agreements contained the non-competition
clause set forth in Paragraph 42 above.4
         70.      Both Ms. Sherron and Ms. Covert work in California.
         71.      Both the Sherron and Covert Agreements contain the resolution of disputes
provision and the conflicting choice of law provisions described in Paragraphs 45-47
above.
         72.      RocketPower did not review or approve the non-competition or choice of
law provisions in the Sherron and Covert Agreements.
         73.      True to his threats, on April 22, 2019, Mr. Fullhart, through Strio’s counsel,
Kate Bischoff, sent a letter to a client of RocketPower, namely Saki Kravitz of Minted
(“Kravitz Letter”), regarding Minted’s direct hiring of Ms. Sherron.
         74.      Strio had knowledge that both Ms. Sherron and Ms. Covert were joint
employees of RocketPower and Strio.
         75.      Strio also had knowledge that Ms. Sherron and Ms. Covert had been placed
with RocketPower clients who had conversion provisions in their agreements with
RocketPower. Specifically, the Master Services Agreements that RocketPower had with




3
  The relevant terms of the Sherron and Covert Employment Agreements that are at issue
in this action are identical.
4
  Both the Sherron and Covert Agreements purport to be with Strio only, not
RocketPower and Strio, even though Ms. Sherron and Ms. Covert were jointly employed
by RocketPower and Strio.


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its clients allowed clients to directly hire the joint employees that had been placed with
them in exchange for paying a fee.
          76.     Prior to Minted offering Ms. Sherron full time employment, Minted and
Ms. Sherron had both asked Mr. Caldwell if Minted could convert Ms. Sherron to a
Minted employee.
          77.     Mr. Caldwell discussed this request with Mr. Fullhart several times before
Minted hired Ms. Sherron as a full time employee, and long before Strio sent the Kravitz
letter.
          78.     In addition to agreeing to Ms. Sherron’s conversion, Mr. Caldwell also
agreed to waive the conversion fee Minted would have otherwise paid because Ms.
Sherron had complained to Minted that Strio had failed to pay or otherwise made
mistakes when issuing Ms. Sherron’s paycheck.
          79.     Mr. Fullhart was upset that RocketPower had agreed to waive the
conversion fee, even though the reason Mr. Caldwell had waived the fee was because
Strio had repeatedly failed to properly pay Ms. Sherron for the work she had done at
Minted.
          80.     Strio had further knowledge that due to the joint employment arrangement,
RocketPower had certain rights with respect to the employment of Ms. Sherron and Ms.
Covert.
          81.     Strio had further knowledge that sending letters to RocketPower’s clients
would create a high degree of probable harm to RocketPower, and upon information and
belief, intended to do such harm.
          82.     Based on the prior threats, Strio intended to cause injury to RocketPower
by sending the Kravitz Letter.
          83.     Upon information and belief, Strio sent the Kravitz Letter with willful and
conscious disregard for RocketPower’s rights.




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         84.      Minted is a client of RocketPower and does not have a contractual
relationship with Strio.
         85.      Minted is located in San Francisco, California and Ms. Sherron lives in and
works primarily in California.
         86.      Ms. Sherron had previously been a joint employee of RocketPower/Strio,
working on a Minted engagement.
         87.      In the Kravitz Letter, Ms. Bischoff threatened Minted with legal action
based on Ms. Sherron’s alleged breach of the Sherron Agreement that she had signed
when she became a joint employee of RocketPower/Strio.5
         88.      Ms. Bischoff also made negative and disparaging comments about
RocketPower’s CEO, Mat Caldwell, and misrepresented the nature of Ms. Sherron’s
relationship with both Strio and RocketPower.
         89.      Although Ms. Sherron had been a joint employee of RocketPower/Strio,
and had been placed with Minted based on RocketPower’s contractual relationship with
Minted, Ms. Bischoff misrepresented that Ms. Sherron had been the sole employee of
Strio. Indeed, Ms. Sherron’s cost was paid 100% by RocketPower, even though her work
created a 50% profit split for Strio.
         90.      Prior to Ms. Sherron accepting a full-time position with Minted, Minted
contacted RocketPower’s CEO, Mat Caldwell, and requested permission to offer Ms.
Sherron full-time employment with Minted.
         91.      Mr. Caldwell approved Minted’s request.
         92.      Despite the fact that Ms. Sherron had been a joint employee of
RocketPower/Strio and had been placed with Minted based on RocketPower’s
relationship with Minted, Ms. Bischoff asserted that Mr. Caldwell did “not have the
authority to approve” a waiver of Ms. Sherron’s unenforceable non-compete clause.
5
 RocketPower includes this allegation not because RocketPower seeks to impose liability
based on threats of litigation — it does not. Rather, RocketPower seeks to provide a full
picture of events.


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         93.      Ms. Bischoff’s letter disparaged Mr. Caldwell by representing that he
lacked the authority to allow one of his clients to offer former employees full time
employment with one of RocketPower’s clients, per the standard conversion provision6 in
RocketPower’s Master Services Agreement with its clients which from Strio has
continuously benefitted, and implying that neither Strio nor Minted had any knowledge
of or connection to RocketPower.
         94.      Strio had knowledge of the terms of the Master Services Agreement and
made statements which misrepresented the terms of the Strio and RocketPower
relationship.
         95.      Strio also omitted material information regarding the same and Mr.
Caldwell’s authority with respect to the joint employees.
         96.      On April 22, 2019, Ms. Bischoff sent a letter to Ms. Covert indicating that
she had breached her Agreement with Strio.
         97.      Ms. Covert was, in fact, a joint employee of RocketPower/Strio.
         98.      Ms. Bischoff knowingly and, upon information and belief, intentionally
misrepresented that Ms. Covert had obtained employment at several locations, including
Reflektive, Aptible, and Open Door through Strio’s “client, RocketPower,” when in fact
Ms. Covert was a joint employee of RocketPower/Strio. Each of those clients for whom
Ms. Covert was placed to perform services was a client of RocketPower’s, not Strio’s.
Indeed, Ms. Covert’s work was paid 100% by RocketPower, even though her work
created a 50% profit split for Strio.
         99.      In her letter, Ms. Bischoff threatened RocketPower’s employee with legal
action for providing services she was contractually entitled to perform.
         100.     Strio intentionally misrepresented a material fact, namely that it was the
sole employer of RocketPower/Strio joint employees to Minted and, upon information
6
  The Master Services Agreement gives RocketPower the authority, and imposes a
contractual obligation on RocketPower, to allow its clients to offer full time employment
to workers that RocketPower has placed with its clients.


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and belief, intentionally misrepresented the same material fact to other RocketPower
clients (together the “Unauthorized Communications”).
         101.     Strio made the statements in the Kravitz Letter and other Unauthorized
Communications with knowledge that information therein was false, and acted with
intent by making these false statements in the Unauthorized Communications.
         102.     On April 17, 2019, counsel for RocketPower sent a letter to Strio and its
counsel notifying them that Nuro, one of RocketPower’s clients, had informed
RocketPower that Robin Schooling from Strio had contacted Nuro and indicated that
Nuro’s drivers “work for Strio.” The Nuro executive had no idea who Ms. Schooling or
Strio were and contacted RocketPower to inquire about Ms. Schooling and Strio.
RocketPower informed Nuro that Strio provides services for RocketPower’s employees.
During this conversation with RocketPower, Nuro’s executive made clear that Nuro
wanted all executive communications to go through RocketPower only.
         103.     RocketPower’s counsel also conveyed to Strio that Strio must not contact
RocketPower’s clients without first obtaining RocketPower’s express permission.
         104.     RocketPower also warned Strio that contacting RocketPower’s clients
directly interfered with RocketPower’s contractual relationships.
         105.     Strio was, therefore, on notice of RocketPower’s rights and the potential
risk that Strio’s Unauthorized Communications with RocketPower’s clients would cause
damage to RocketPower.
         106.     Strio’s counsel responded with a letter dated April 19, 2019. Enclosed in
that letter were the Sherron and Covert Agreements, both joint employees of
RocketPower/Strio.
         107.     Strio’s April 19, 2019 letter threatened litigation against RocketPower
based on the unenforceable non-competition and non-solicitation clauses in the Sherron
and Covert Agreements:




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                  [M]y client has been made aware of multiple Strio
                  employees and contractors who have been solicited by
                  RocketPower to work on non-Strio projects for which Strio
                  is not being compensated. I have enclosed herewith copies
                  of the contracts between Strio and two of its contractors,
                  Paula-Anne Sherron and Christine Covert, who have been
                  improperly solicited by RocketPower to work on such
                  projects. Be advised that any work performed by Strio
                  employees or contactors on such projects constitutes a
                  breach of their respective contracts with Strio and any efforts
                  by RocketPower to solicit, encourage, or entice Strio
                  employees to work on such projects, or otherwise breach
                  their contracts, constitutes unlawful interference with those
                  contracts.
         108.     Ms. Sherron and Ms. Covert, and the rest of the joint employees, were joint
employees of RocketPower and Strio solely because of RocketPower’s contractual
relationships with its client base.
         109.     Absent RocketPower’s client base, Ms. Sherron, Ms. Covert and the rest of
the joint employees would not have been joint employees of RocketPower and Strio.
         110.     As joint employees of RocketPower/Strio, Ms. Sherron and Ms. Covert
performed work primarily in the state of California.
         111.     As such, the non-competition clauses of their respective employment
agreements are void and unenforceable under California law.
         112.     Regardless, as its joint employer, RocketPower has the authority to waive
any restrictive covenants Strio attempted to impose on their joint employees.
         113.     Upon information and belief, Strio has contacted other RocketPower clients
and employees and made disparaging comments about RocketPower, Mr. Caldwell, and
other RocketPower employees.
                                  FIRST CAUSE OF ACTION
                                     (Declaratory Judgment)
         114.     RocketPower realleges and incorporates paragraphs 1–99 of this First
Amended Complaint as if fully set forth herein.




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         115.     A justiciable controversy exists as to whether the restrictive covenants and
choice of law provisions of the Worker Agreements are enforceable.
         116.     There is a present and actual controversy between RocketPower and Strio.
         117.     The parties’ interests are adverse.
         118.     Strio is threatening to enforce a restrictive covenant, including non-compete
and non-solicitation provisions, against joint-employees of Strio and RocketPower
without RocketPower’s consent. Strio is also claiming that RocketPower has
intentionally interfered with Strio’s contractual relationships with Strio’s purported
employees and contractors, including those restrictive covenants (even though those
workers are jointly employed by both RocketPower and Strio).
         119.     RocketPower contends that the restrictive covenant provisions of the
Agreements are unenforceable as they relate to RocketPower and the joint workers for at
least the following reasons:
             a. The non-compete provisions of the Agreements are unenforceable under
                  California law and cannot be enforced against any California worker
                  pursuant to California Business and Professions Code section 16600,
                  irrespective of any choice of law provision, under California Labor Code
                  section 925;
             b. RocketPower and Strio are joint employers of the workers for at least the
                  following reasons:
                       i.   RocketPower supervises and controls the workers’ schedules and
                            conditions of employment;
                      ii.   RocketPower determines the rate and method of payment for all of
                            the billable employees. For the few employees who are Strio
                            internal overhead only, Strio determines the rate and method of
                            payment with RocketPower’s input;




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                      iii.   Many of the Agreements expressly state that the workers are
                             employees of both RocketPower and Strio;
                      iv.    The Employee Handbook states that the workers are employees of
                             both RocketPower and Strio;
                       v.    Onboarding of employees is done by both RocketPower and Strio;
                      vi.    Both have responded to employee complaints from various agencies
                             as joint-employers;
                  vii.       Responsibility under the Agreements could pass from one entity to
                             the other without material changes; and
                 viii.       The workers work exclusively for RocketPower clients. As such,
                             Strio cannot enforce the restrictive covenants of the Worker
                             Agreements against RocketPower, a joint-employer and intended co-
                             beneficiary of the restrictive covenants;
             c. The non-compete provisions of the Worker Agreements are overbroad, and
                  contain no geographical or other scope limitations;
             d. The restrictive covenant and choice of law provisions of the Worker
                  Agreements were not negotiated pre-offer of employment;
             e. The restrictive covenant provisions of the Worker Agreements are not
                  supported by additional consideration;
             f. Strio cannot enforce the Worker Agreements pursuant to the doctrines of
                  unclean hands and/or first breach, due to its failure to make payroll for the
                  workers on at least two occasions in November and December 2018;
             g. The Worker Agreements are vague and ambiguous in at least the following
                  ways:
                        i.   The Worker Agreements purport to be both an “independent
                             contractor” agreement and “employment” agreement;
                       ii.   The Worker Agreements contain two inconsistent choice of law


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                         provisions, one stating that the Worker Agreements “shall be
                         governed, construed, and determined according to the laws of the
                         State of Minnesota,” and the other stating that the Worker
                         Agreements “will be governed by the law of the state in which the
                         Services are primarily performed”;
             h. Strio does not provide specialized training to RocketPower/Strio joint
                  employees;
             i. There is no Strio proprietary confidential information promised to or given
                  to the joint employees;
             j. There are no Strio trade secrets provided to the joint employees;
             k. There is no customer goodwill on behalf of Strio retained by the
                  employees, in fact many RocketPower contracted clients do not even know
                  that Strio exists;
             l. The majority of RocketPower/Strio joint employees are low to middle
                  income hourly employees and enforcement of non-competes interferes with
                  their ability to work and provide a living for themselves and their families;
             m. RocketPower and Strio are complementary businesses who do not compete
                  for the same clients; and
             n. RocketPower and Strio do not have a non-solicitation or non-compete
                  agreement with each other.
         120.     RocketPower has a legally protectable interest in its employment
relationship with the workers and in its contractual relationship with its clients and seeks
to preserve those interests through this declaratory judgment.
         121.     These issues are ripe for the Court’s determination.
         122.     Accordingly, RocketPower seeks a declaratory judgment from this Court
that the restrictive covenant and choice of law provisions of the Worker Agreements are




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invalid and unenforceable with regard to RocketPower and the joint workers of
RocketPower and Strio.
                                SECOND CAUSE OF ACTION
                      (Intentional Interference with Contractual Relations)
         123.     RocketPower realleges and incorporates paragraphs 1–108 of this First
Amended Complaint as if fully set forth herein.
         124.     RocketPower has binding and enforceable agreements with its clients,
including, but not limited to: Nuro, Minted, Reflektive and numerous other growing
companies to provide advertising, screening, and identifying potential employees that
will meet their clients’ employment needs as follows: 1) in the recruiting process
outsourcing line of business, RocketPower directs the operational performance of the
employees; 2) in the staffing line of business, RocketPower directs the operations
performance of the employees; and 3) in the staffing line of business, the clients provide
primary operational direction.
         125.     Strio knew of these contracts as part of its work with RocketPower.
         126.     Strio also knew that the individuals placed with RocketPower’s clients as
part of the arrangement between RocketPower and Strio were joint employees and that
RocketPower had certain rights with respect to those employees.
         127.     Upon information and belief, Strio has intentionally caused or induced
RocketPower’s clients to breach their agreements with RocketPower by, among other
things, defaming and disparaging Mat Caldwell, CEO of RocketPower, and intentionally
misrepresenting the status of the workers as exclusive employees of Strio, rather than
what they truly are, joint employees of both RocketPower and Strio.
         128.     As evidenced by the text message exchange in Paragraph 59, Strio’s
Unauthorized Communications were undertaken with a high degree of awareness and
knowledge that such action carried a high probability of causing injury to RocketPower.




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         129.     Strio’s Unauthorized Communications were also undertaken with an
intentional disregard to the rights of RocketPower, including its rights as a joint employer
and RocketPower’s contractual obligations to its clients.
         130.     Strio’s actions were without justification.
         131.     Strio acted wrongfully, with an improper purpose, and by improper means.
         132.     As a result of Strio’s interference with the contractual and business
relations, RocketPower has been severely damaged and suffered, and will continue to
suffer, irreparable harm and other damages.
         133.     Because Strio’s interference with RocketPower’s contractual relations is
causing and will continue to cause immediate and irreparable harm, it justifies the Court’s
imposition of preliminary and permanent injunctive relief.
         134.     Because Strio’s interference with RocketPower’s contractual and business
relations was willful, malicious, and in reckless disregard for the rights of others,
RocketPower is entitled to an award of punitive damages in an amount to be determined
at trial.
         135.     When Strio sent the Unauthorized Communications to RocketPower’s
clients and joint and/or former employees, Strio acted with knowledge that it was
intentionally misrepresenting and intentionally disregarding material facts, and that the
Unauthorized Communications created a high probability of injury to RocketPower.
         136.     Strio’s Unauthorized Communications intentionally misrepresented facts
which were known to Strio.
         137.     Therefore, RocketPower is entitled to an award of punitive damages in an
amount to be determined at trial.
                                 THIRD CAUSE OF ACTION
                (Negligent Interference with Prospective Economic Advantage)
         138.     RocketPower realleges and incorporates paragraphs 1–117 of this First
Amended Complaint as if fully set forth herein.


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         139.     RocketPower has business relationships with its clients, including, but not
limited to: Nuro, Minted, Reflektive and numerous other growing companies concerning
advertising, screening, and identifying potential employees that will meet their clients’
employment needs. These relationships resulted in economic benefit to RocketPower.
         140.     Strio knew of these economic relationships as part of its work with
RocketPower.
         141.     Strio knew or should have known that these relationships would be
disrupted if it failed to act with reasonable care.
         142.     Strio failed to act with reasonable care by, among other things defaming
and disparaging Mat Caldwell, CEO of RocketPower, and misrepresenting the status of
the workers as exclusive employees of Strio, rather than what they truly are, joint
employees of both RocketPower and Strio.
         143.     Strio’s actions were without justification.
         144.     RocketPower’s relationships with its clients were disrupted.
         145.     Strio acted wrongfully, with an improper purpose, and by improper means.
         146.     As a result of Strio’s interference with the contractual and business
relations, RocketPower has been severely damaged and suffered, and will continue to
suffer, irreparable harm and other damages.
         147.     Because Strio’s interference with RocketPower’s prospective economic
relations is causing and will continue to cause immediate and irreparable harm, it justifies
the Court’s imposition of preliminary and permanent injunctive relief.
         148.     Because Strio’s interference with RocketPower’s prospective advantage
was willful, malicious, and in reckless disregard for the rights of others, RocketPower is
entitled to an award of punitive damages in an amount to be determined at trial.




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                               FOURTH CAUSE OF ACTION
           (Unfair Competition — Business & Professions Code § 17200 et seq.)
         149.     RocketPower realleges and incorporates paragraphs 1–128 of this First
Amended Complaint as if fully set forth herein.
         150.     Strio, by engaging in the wrongful conduct alleged in this First Amended
Complaint, engaged in unlawful, unfair, and/or fraudulent business practices within the
meaning of California Business and Professions Code section 17200 et seq. (the “Unfair
Competition Law”).
         151.     Use of covenants not to compete, in violation of Business and Professions
Code section 16600, is an unlawful business practice actionable as unfair competition
under the Unfair Competition Law.
         152.     Soliciting employees to sign covenants not to compete, which are void
under Business and Professions Code section 16600, without informing the employees
that the provision is void, is an unfair and/or fraudulent business practice under the
Unfair Competition Law.
         153.     Requiring employees who primarily reside in California to adjudicate
claims that arise in California outside of California, or from depriving those employees of
“substantive protection[s] of California law with respect to a controversy arising in
California,” violates California Labor Code, section 925.
         154.     Requiring employees to adjudicate claims outside of California and
depriving employees of the substantive protections of California law, in violation of
California Labor Code section 925, is an unfair and/or fraudulent business practice under
the Unfair Competition Law.
         155.     Strio sought and obtained employee signatures on agreements containing
covenants not to compete that are void under Business and Professions Code section
16600.




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         156.     Strio sought and obtained employee signatures on agreements containing
restrictions contrary to Labor Code section 925.
         157.     RocketPower lost money and/or property as a result of Strio’s unlawful,
unfair, and/or fraudulent business practices concerning covenants not to compete and
deprivation of the California forum and law, impairing RocketPower’s business
relationships and its ability to place talented individuals with client companies.
         158.     Strio’s violation of the Unfair Competition Law entitles RocketPower to
restitution and disgorgement of profit and revenue obtained by Strio as a result of such
wrongful business conduct, in an amount according to proof.
         159.     RocketPower is entitled to declaratory and injunctive relief under the
Unfair Competition Law. It lacks an adequate remedy at law because of the irreparable
and unquantifiable ongoing injury that results from Strio’s unfair competition. California
law authorizes injunctive relief to protect businesses from unfair competition.
                      PLAINTIFF’S NEED FOR INJUNCTIVE RELIEF
         160.     To prevent further intentional interference with RocketPower’s contractual
and prospective economic relations, it is reasonable and necessary that Strio be
temporarily and permanently enjoined from misrepresenting the status of the workers’
relationship with RocketPower, from disparaging and defaming Mat Caldwell, CEO of
RocketPower, and from contacting RocketPower clients and joint employees seeking to
solicit signatures on agreements containing unenforceable restrictive covenants.
         161.     As discussed in, among others, paragraphs 109 through 128, RocketPower
will prevail on the merits on its common-law claims.
         162.     As discussed in, among others, paragraphs 116, 127, and 129, RocketPower
will suffer immediate and irreparable harm, and cannot be sufficiently compensated by a
judgment.




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         163.     While RocketPower will suffer immediate and irreparable harm in the
absence of preliminary and permanent injunctive relief, Strio will suffer no comparable
loss from the imposition of injunctive relief.
         164.     The imposition of preliminary and permanent injunctive relief will serve
public policy goals, including but not limited to fair competition and the freedom of
employees to move without restraint on future work, as codified in California Business
and Professions Code section 16600.
                                    PRAYER FOR RELIEF
         WHEREFORE, RocketPower respectfully requests judgment against Strio as
follows:
         1.       A declaratory judgment that from this Court that the restrictive covenant
and choice of law provisions of the Worker Agreements are invalid and unenforceable
with regard to RocketPower and the joint workers of RocketPower and Strio.
         2.       For all actual damages, plus interest, in an amount to be determined at trial;
         3.       For punitive damages;
         4.       For attorneys’ fees and costs as allowed by law;
         5.       For all costs and expenses of collection incurred through the collection of
judgment, including reasonable attorneys’ fees and legal expenses;
         6.       For a temporary and permanent injunction prohibiting Strio from: (1)
misrepresenting the status of the workers’ relationship with RocketPower; (2) disparaging
and defaming Mat Caldwell, CEO of RocketPower; (3) contacting RocketPower clients
and joint employees regarding the unenforceable restrictive covenants; (4) further
interfering with RocketPower’s current and prospective business relations; and (5) from
engaging in other conduct that the Court may restrict in aid of these injunctions.
         7.       For such other relief as the Court deems just and proper.




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 Dated: March 27, 2020                   Respectfully submitted,


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